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 Counsel to Black Diamond Commercial
 Finance, LLC

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                    )257+(($67(51',675,&72)9,5*,1,$
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    &DVHV

    Admiralty Island Fisheries, Inc. v. Millard Refrigerated Servs., Inc.
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    Anderson v. Liberty Lobby, Inc.
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    Ballinger v. N.C. Agr. Extension Serv
       )GWK&LU

    In re Best Payphones, Inc.
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    In re China Merch. Steam Nav. Co.
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    Concord Labs., Inc. v. Concord Med Ctr.
       )6XSS1',OO

    De Lorenzo v. Bac Agency, Inc.
       $'GG'HS¶W

    Dejarnette v. Immigration Centers of America-Farmville, LLC
       1R&9:/('9D0D\

    Founding Church of Scientology v. Webster
       )G'&&LU

    In re French
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    Graham v. Progress Energy, Inc.
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    Greater Balt. Ctr. for Pregnancy Concerns, Inc. v. Mayor & City Council of Balt
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    Harrods Ltd. v. Sixty Internet Domain Names
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    IBM Credit Fin. Corp. v. Mazda Motor Mfg. (USA) Corp.
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    IBM Credit Fin. Corp. v. Mazda Motor Mfg. (USA) Corp.
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    Jackson v. Griffith
       )GWK&LU

    Klyczek v. Shannon
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    McCray v. Maryland Department of Transportation
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    Mills v. Holmes
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    O’Connor v. Sleasman
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    O’Shanter Res., Inc. v. Niagara Mohawk Power Corp
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    Pesa v. Yoma Dev. Grp., Inc.
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    In re Prof’l Coatings (N.A.), Inc.
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    Pulliam Inv. Co., Inc. v. Cameo Properties
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    River Terrace Assocs., LLC v. Bank of N.Y.
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    Rux v. Starbucks Corp.
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    Smith v. Univ. of N. Carolina
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    Smith v. Virginia Commonwealth Univ.
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    Turchan v. United States
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    Tyree v. United States
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    United States v. Bernard
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    Webster v. Rumsfeld)$SS¶[WK&LU




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    Wecare Holdings, LLC v. Bedminster Int’l Ltd.
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    DWWRUQH\V0F*XLUH:RRGV//3DQG&RYLQJWRQ	%XUOLQJ//3UHVSHFWIXOO\VXEPLWVWKLV

    0HPRUDQGXPRI/DZLQ2SSRVLWLRQWR'HIHQGDQWV¶0RWLRQIRU3DUWLDO6XPPDU\-XGJPHQW

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    H[WUDRUGLQDU\UHPHG\WKDWVKRXOGRQO\EHJUDQWHGZKHQDIWHUWKHIDFWVDQGHYLGHQFHDUH

    FROOHFWHGWKURXJKGLVFRYHU\LWLVFOHDUWKDWWKHUHLVQRJHQXLQHLVVXHRIPDWHULDOIDFWLQ

    GLVSXWH+HUHGLVFRYHU\LVQRZKHUHQHDUFRPSOHWLRQ$PRQJRWKHUVKRUWFRPLQJV%ODFN

    'LDPRQGKDVQRW\HWEHHQDOORZHGWRGHSRVHDQ\RI'HIHQGDQWV¶ZLWQHVVHVDQGWKHUHLVD

    VLJQLILFDQWPRWLRQSHQGLQJUHJDUGLQJ'HIHQGDQWV¶IDLOXUHVWRSURGXFHUHOHYDQWGRFXPHQWV

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    DOWHUQDWLYHILQDQFLQJZHUHalso YLRODWLRQVRIWKH&RPPLWPHQW/HWWHU%HFDXVHWKHUHKDYHQRW

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            Black Diamond’s Motion for Sanctions

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    WKDW³UHDVRQDEOHPLQGVFRXOGGLIIHUDVWRWKHLPSRUWRIWKHHYLGHQFH´ In re Prof’l Coatings

    (N.A.), Inc.%5%DQNU('9D

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    WRMXVWLI\LWVRSSRVLWLRQWR'HIHQGDQWV¶PRWLRQ,QWKHDOWHUQDWLYHVXPPDU\MXGJPHQWVKRXOG

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    DVVHUWLRQV'HIHQGDQWVDQGWKHLUDJHQWVdidVROLFLWDOWHUQDWLYHILQDQFLQJ²both before and

    after October 23, 2015)RUH[DPSOH'HIHQGDQWVDQGWKLUGSDUWLHVKDYHSURGXFHGGRFXPHQWV

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    an instrument in writing signed by the party against whom enforcement of the same is

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                                                    Counsel to Black Diamond Commercial
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                                                 /s/ John H. Maddock, III
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